        2:18-cr-20041-JES-EIL # 13        Page 1 of 3                                          E-FILED
                                                                  Friday, 19 October, 2018 12:48:12 PM
                                                                           Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                               URBANA DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
       Plaintiff,                                 )
                                                  )
       v.                                         )      Case No. 18-20041
                                                  )
JOHN H. BORN,                                     )
                                                  )
       Defendant.                                 )

              INFORMATION CONCERNING PRIOR CONVICTIONS

       Pursuant to 21 U.S.C. § 851, the United States of America, by John E. Childress,

United States Attorney for the Central District of Illinois, and Rachel E. Ritzer, Assistant

United States Attorney, respectfully notifies the Court that it intends to rely on the

following prior convictions of the defendant as a basis for an increased punishment in

this case.

       Count One of the Indictment charges Possession of 50 Grams or More of

Methamphetamine with Intent to Distribute in violation of Title 21, United States Code,

Section 841(a)(1) and 841(b)(1)(A)(viii). Prior to the filing of this Indictment, the

defendant was convicted of the following controlled substance offenses:

       1)     Manufacture/Delivery of Cannabis, Coles County, Illinois, Circuit Court
              case number 2007-CF-76. Defendant pleaded guilty June 29, 2007.

       2)     Manufacture/Delivery of Cannabis Conspiracy, Coles County, Illinois,
              Circuit Court case number 2010-CF-224. Defendant pleaded guilty
              October 8, 2010.

       Accordingly, the United States gives notice, pursuant to 21 U.S.C. § 851(b)(1)

(A)(viii), that, with two or more prior convictions for a final felony drug offense, upon a
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conviction of Count One of the Indictment, the defendant shall be sentenced to a

mandatory term of life imprisonment without release, a fine not to exceed $20,000,000

and a mandatory $100 special assessment. With only one prior conviction for a final

felony drug offense, pursuant to 21 U.S.C. § 841(b)(1)(A)(viii), upon a conviction of

Count One of the Indictment, the defendant shall be sentenced to a term of

imprisonment that shall not be less than 20 years and not more than life imprisonment,

a term of supervised release of at least 10 years in addition to such term of

imprisonment, a fine not to exceed $20,000,000 and a mandatory $100 special

assessment.

       Pursuant to 21 U.S.C. § 851(b), any challenge to a prior conviction that is not

made before sentence is imposed may not thereafter be raised to attack the sentence.

Pursuant to 21 U.S.C. § 851(c), if the defendant denies any allegation of this information

of prior conviction or claims that any conviction alleged is invalid, he should file a

written response to the information.

                                          Respectfully submitted,

                                          JOHN E. CHILDRESS
                                          UNITED STATES ATTORNEY

                                          s/ Rachel E. Ritzer
                                          Rachel E. Ritzer, Illinois Bar No. 6309905
                                          Assistant United States Attorney
                                          201 S. Vine St., Suite 226
                                          Urbana, IL 61802
                                          Phone: (217) 373-5875
                                          Fax: (217) 373-5891
                                          rachel.ritzer@usdoj.gov




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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 19, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to counsel of record.




                                          s/ Rachel E. Ritzer
                                          Rachel E. Ritzer, Illinois Bar No. 6309905
                                          Assistant United States Attorney
                                          201 S. Vine St., Suite 226
                                          Urbana, IL 61802
                                          Phone: (217) 373-5875
                                          Fax: (217) 373-5891
                                          rachel.ritzer@usdoj.gov




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